        Case 8:24-cr-00054-JWH          Document 68         Filed 01/23/25     Page 1 of 1 Page ID #:320
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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                     CASE NUMBER:

                                                                             No. CR 24-00054-JWH
                                             PLAINTIFF(S)
                             v.
IPPEI MIZUHARA,                                                       NOTICE OF MANUAL FILING
                                                                            OR LODGING
                                           DEFENDANT(S).

PLEASE TAKE NOTICE:
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Exhibit of CD audio file in support of Government's Position RE: Sentencing for Defendant Ippei Mizuhara
(Docket #67)




Reason:
          Under Seal and/or In Camera
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          Other:




January 23, 2025                                               Jeff Mitchell
Date                                                           Attorney Name
                                                               United States of America
                                                               Party Represented

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